Case 1:20-cr-10029-DJC Document 1 Filed 02/05/20 Page 1 of 6

SEALED

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Criminal No. Ick / OQLY

Violations:

UNITED STATES OF AMERICA

Vv.

Counts One - Two: Deprivation of Rights
Under Color of Law
(18 U.S.C. § 242)

SETH M. BOURGET and
JOSEPH M. LAVORATO

Defendants Count Three: Obstruction of an

Official Proceeding; Aiding and Abetting
(18 U.S.C. §§ 1512(c)(2) and 2)

Count Four: Destruction, Alteration and
Falsification of Records in a Federal
Investigation

(18 U.S.C. § 1519)

Smee” Ne Nem Nee Nee” Nee eee” ee” ee’ Se” ee’ ee Se SN”

INDICTMENT
COUNT ONE
Deprivation of Rights Under Color of Law
(18 U.S.C. § 242)
The Grand Jury charges:
On or about June 18, 2019, in the District of Massachusetts, the defendant,
SETH M. BOURGET,

while acting under color of any law, statute, ordinance, regulation and custom, as a Senior
Corrections Officer with the United States Bureau of Prisons at the Federal Medical Center,

Devens (“FMC Devens”), did willfully subject “KT,” an inmate at FMC Devens, to the

deprivation of the right, privilege and immunity, secured and protected by the Constitution and
Case 1:20-cr-10029-DJC Document1 Filed 02/05/20 Page 2 of 6

laws of the United States, to be free from cruel and unusual punishment; specifically, the
defendant, without legal justification, dropped his knee on inmate KT’s head while KT was
handcuffed and restrained on the floor in the N-3 mental health housing unit at FMC Devens,
resulting in bodily injury to inmate KT.

All in violation of Title 18, United State Code, Section 242.
Case 1:20-cr-10029-DJC Document 1 Filed 02/05/20 Page 3 of 6

COUNT TWO
Deprivation of Rights Under Color of Law
(18 U.S.C. § 242)
The Grand Jury further charges:
On or about June 18, 2019, in the District of Massachusetts, the defendant,
SETH M. BOURGET,
- while acting under color of any law, statute, ordinance, regulation and custom, as a Senior
Corrections Officer with the United States Bureau of Prisons at FMC Devens, did willfully
subject “KT,” an inmate at FMC Devens, to the deprivation of the right, privilege and immunity,
secured and protected by the Constitution and laws of the United States, to be free from cruel and
unusual punishment; specifically, the defendant, without legal justification, struck inmate KT
with a protective shield with excessive force while KT was handcuffed inside a locked holding
cell in the N-1 mental health housing unit at FMC Devens, resulting in bodily injury to inmate

KT.

All in violation of Title 18, United State Code, Section 242.
Case 1:20-cr-10029-DJC Document 1 Filed 02/05/20 Page 4 of 6

COUNT THREE
Obstruction of an Official Proceeding; Aiding and Abetting
(18 U.S.C. §§ 1512(c)(2) and 2)
The Grand Jury further charges:
From on or about June 18, 2019 through on or about June 19, 2019, in the District of
' Massachusetts, the defendant,
JOSEPH M. LAVORATO,
did corruptly obstruct, influence and impede, and attempt to obstruct, influence and impede an
official proceeding, specifically, the After-Action Review conducted by the United States Bureau
of Prisons at FMC Devens of the June 18, 2019 use-of-force on inmate “KT” on the N-1 housing
unit by, among other things, providing false and misleading information about the use-of-force
on inmate KT, e.g., by: (a) failing to timely and accurately report the nature and extent of inmate
KT’s injuries to FMC Devens supervisory staff; and (b) concealing the existence of one of the

video recordings of the use-of-force in the defendant’s Form 583 Use-of-Force Report.

All in violation of Title 18, United State Code, Section 1512(c)(2).
Case 1:20-cr-10029-DJC Document 1 Filed 02/05/20 Page 5 of 6

COUNT FOUR
Destruction, Alteration and Falsification of Records in a Federal Investigation
(18 U.S.C. § 1519)
The Grand Jury further charges:
From on or about June 18, 2019 through on or about June 19, 2019, in the District of
Massachusetts, the defendant,
JOSEPH M. LAVORATO,
did knowingly alter, destroy, mutilate, conceal, cover up, falsify, and make a false entry in a
record, document and tangible object, namely the Form 583 Use-of-Force Report regarding the
use-of-force on inmate “KT,” with the intent to impede, obstruct, and influence the investigation
and proper administration of a matter within the jurisdiction of the United States Bureau of
Prisons, an agency of the United States, and in relation to and contemplation of such matter, by:
(a) falsely claiming in the Form 583 Use-of-Force Report that: “The camera for the
immediate use of force failed due to a dead battery. As the incident progressed a
different camera was utilized to capture the calculated portion of the use of force.” In
fact, as defendant well knew, the initial camera for the immediate use of force was
operational and filmed the use-of-force but the recording of the use-of-force was
thereafter deleted; and
(b) failing to include a video recording of the use-of-force on inmate KT on the N-1
| housing unit at FMC Devens which defendant deleted and caused to be deleted.

All in violation of Title 18, United State Code,-Section 1519.
Case 1:20-cr-10029-DJC Document 1 Filed 02/05/20 Page 6 of 6

A TRUE BILL

alec

ERSON “——

NEIL J. GALLAGHER, JR.
ASSISTANT UNITED STATES ATTORNEY
DISTRICT OF MASSACHUSETTS

District of Massachusetts: February 5, 2020
Returned into the District Court by the Grand Jurors and filed.

DEPUTY CLERK
2/5/2220 2, I 43aw]

 
